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                                                                                                SINGAPORE
        VIA ECF                                                                                    TOKYO
        Honorable Rukhsanah L. Singh, U.S.M.J.                                                   TORONTO

        United States District Court
        Clarkson S. Fisher Building & US Courthouse
        402 East State Street
        Trenton, NJ 08608

        Re:        In RE: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices, and
                   Products Liability Litigation (MDL No. 2738) – Request For Expedited Discovery

        Dear Judge Singh:

                I am lead trial counsel for Johnson & Johnson (“J&J”) and LLT Management LLC (“LLT”)
        (collectively, “Defendants”) in this MDL. I write on behalf of Defendants to alert the Court to a
        subpoena for documents that Defendants are issuing to the Beasley Allen Law Firm (see Appendix
        A) and to request that this Court order an expedited response. The subpoena seeks documents
        concerning what appears to be a recent and intentional effort by Beasley Allen to bias the vote
        against the Plan of Reorganization announced by Defendants on May 1, 2024 (the “Plan”).1
        Defendants require your immediate assistance and expedited relief because voting on the Plan
        will close on July 26, 2024, just over 60 days from today.

                Based on information that Defendants have learned just this week, it appears likely that
        Beasley Allen (1) already has provided false and misleading information to its own clients and
        potentially talc ovarian cancer claimants more generally concerning the Plan; (2) has a plan to
        further flood talc ovarian cancer claimants with an anti-vote campaign or similar biased and
        misleading advocacy; (3) failed to communicate to its clients the terms of Defendants’ numerous
        prior offers to resolve the talc litigation, including negotiations that occurred with and offers that
        were made directly and specifically to Beasley Allen on behalf of its clients; and (4) continues to
        advocate for positions directly contrary to the interests of talc ovarian cancer claimants despite its

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              Defendants are also issuing related third-party subpoenas to both Fortress Investment
        Group and Thompson Reuters.
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  ethical duties to represent the claimants with candor as both officers of the court and a member of
  the PSC.

           Beasley Allen’s behavior is concerning for a host of reasons detailed more fully herein. If
  left unchecked, such egregious behavior threatens to degrade the integrity of these proceedings
  which, regrettably, Beasley Allen’s zealous efforts to oppose Defendants’ efforts to
  comprehensively resolve the talc litigation at every turn and through any means necessary has
  already threatened to do. More temporally pressing, if their efforts to mislead and obstruct are not
  immediately exposed, Beasley Allen could ultimately deprive claimants of the very thing the Plan
  is intended to provide them: Namely, the right to review the terms of the Plan for themselves, vote
  in their own best interests, and have their voices be heard.

         Given the short fuse on the Plan’s voting window, time is of the essence.

                                          BACKGROUND
          This request for expedited discovery arises from a series of recent, unsolicited and
  unexpected communications from an individual plaintiff that Beasley Allen purports to represent
  (the “Claimant”). (See Exhibit A, Email from Beasley Allen Claimant to counsel for J&J). The
  Claimant recently copied both J&J’s outside counsel and LLT’s in-house counsel, as well as a
  reporter from Thompson Reuters (“Reuters”), on correspondence to Beasley Allen. In her email,
  the Claimant sought clarification regarding certain representations that Beasley Allen apparently
  has made concerning the Plan.

          In response to her inquiry, Beasley Allen immediately sought to silence the Claimant by
  asserting attorney privilege protection over her communication – a communication which
  voluntarily and seemingly intentionally involved both opposing counsel and the media. In so
  doing, Beasley Allen tellingly removed both the Claimant and Reuters from the chain with
  Defendants’ counsel. (Id.) In reality, the firm’s privilege claim was spurious for numerous
  reasons, not the least of which is the simple fact, immediately confirmed by Reuters’ in-house
  counsel, that Beasley Allen does not represent Reuters and, therefore, has no good-faith claim to
  the assert privilege over the communication. (Exhibit B, Email between Reuters in-house counsel
  and counsel for J&J).

          The Claimant then reached out separately to J&J’s outside counsel, again without
  solicitation, providing additional details and disclosures concerning her communications with
  Beasley Allen, including an eye opening description of the false information that the firm
  previously has shared with her regarding what it contended was Defendants’ unwillingness to
  engage in resolution discussions over time. In the context of these communications, the Claimant
  again sought clarification of how she could settle her claim, apparently laboring under the false
  impression that the Plan would not do exactly that. (Exhibits C, D, Emails from Beasley Allen
  Claimant to lawyers for J&J).

         These emails, taken as a whole, make abundantly clear that Beasley Allen has not
  communicated the terms of Defendants’ numerous prior settlement offers and is misrepresenting
  the Plan to the Claimant.
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          What’s more, the Claimant alleges that she has clear cell cancer, yet appears entirely
  unaware not only that Defendants have made prior offers to settle claims such as hers and, indeed,
  are currently soliciting a Plan which would provide compensation for her claim, but also that
  Beasley Allen, by contrast, is publicly and aggressively advocating that clear cell cancer claims
  should be deemed worthless, “non-qualifying” cancers and receive no compensation under any
  resolution. In other words, unbeknownst to the Claimant, Beasley Allen has previously and is
  right now advocating against this client’s interests. Beasley Allen is undertaking such advocacy
  despite its ethical obligations as her attorney and despite its position as an officer of the court, and
  has even gone so far as to advance such advocacy in a press release in response to the Plan (which
  was immediately republished by Reuters). (See Exhibit E, May 1, 2024 Beasley Allen Press
  Release.).

          J&J’s counsel did not respond to Claimant’s unsolicited email, but instead forwarded it to
  Beasley Allen, and requested that Beasley Allen confirm that it would (1) cease and desist its false
  and misleading representations regarding the Plan, and (2) provide corrective disclosures to the
  Claimant and any others like her to whom it has made such misrepresentations. (Exhibit C, Email
  from Beasley Allen Claimant to lawyers for J&J). Beasley Allen refused to provide that
  confirmation, which necessitated the filing of the subpoena and this letter motion for expedited
  relief.

                     BASIS FOR THE REQUESTED EXPEDITED RELIEF

        As already alluded to, the information revealed in the Claimant’s correspondence raises a
  panoply of ethical issues, and further calls into question the propriety of Beasley Allen’s position
  on the Plaintiff Steering Committee (“PSC”). It also threatens the success of the Plan which,
  notably, would not only resolve all the claims now pending before this Court, but relatedly would
  provide the Claimant with an opportunity to vote in favor of receiving compensation for her unique
  form of injury – compensation that her attorneys apparently oppose.

         First, Beasley Allen’s provision of false and misleading information to the Claimant
  concerning the Plan—in a clear effort to bias the Claimant’s vote against the Plan—is unlikely an
  isolated incident. But even if it were, such efforts represent a breach of Beasley Allen’s ethical
  obligations to the Claimant, constitutes actionable falsehoods and unfair methods of competition,
  and violates the solicitation provisions of the Bankruptcy Code.2 The Plan seeks a comprehensive
  and final resolution of all the claims now pending before this Court. As a member of the PSC,
  Beasley Allen has an obligation to ensure that true and accurate information concerning any
  proposed resolution of these claims, including through the Plan, is conveyed to the Claimant, each



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   See 11 U.S.C. § 1125(e); see also Official Comm. of Equity Sec. Holders of Mirant Corp. v. The
  Wilson Law Firm, P.C. (In re Mirant Corp.), 334 B.R. 787, 789-790, 793 (Bankr. N.D. Tex.
  2005) (finding that solicitation of rejections of a plan of reorganization through the use of
  misleading or counterfactual materials does not constitute good faith solicitation within the
  meaning of section 1125(e) of the Bankruptcy Code).
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  of their clients, and indeed all plaintiffs in this MDL—instead of doing precisely the opposite, i.e.,
  disseminating false and misleading representations concerning Defendants’ proffer.

          Second, Beasley Allen’s provision of false and misleading information to the Claimant
  concerning Defendants’ willingness to compensate her for her clear cell cancer—while at the same
  time representing to both the Bankruptcy Court and the public that such claims should not be
  allowed to proceed, let alone receive value—constitutes (1) a breach of Beasley Allen’s duties to
  its client, and (2) a breach of Beasley Allen’s duties of candor as an officer of the court. Much
  like other motions now pending before this Court, these circumstances strongly suggest that
  Beasley Allen should be relieved from its position on the PSC.

         Third, Beasley Allen’s failure to advise the Claimant of J&J’s prior offers to settle her
  claims (and the claims of other Beasley Allen clients) is a further breach of its duties to the
  Claimants and all of its clients, which further demonstrates that the firm should not be a member
  of the PSC. This breach is particularly troubling because it is not the first time that Beasley Allen
  has failed to communicate openly, honestly and consistent with its ethical obligations concerning
  financial matters. Indeed, Beasley Allen’s conduct suggests other recently discovered financial
  interests—which should have been disclosed previously—are actually driving its decisions
  relating to the resolution of the talc litigation.

         More specifically, as this Court is aware, District of New Jersey Rule 7.1.1 requires that
  within 30 days of a case being filed, a party must disclose whether it is in receipt of any third-party
  funding, and specifically disclose (1) the identity of the funder; (2) “whether the funder’s approval
  is necessary for litigation decisions or settlement decisions in the action…; and (3) “a brief
  description of the nature of the financial interest.” Pertinent to those obligations, unlike other
  firms, Beasley Allen has never filed a disclosure in this matter. And yet, Andy Birchfield of
  Beasley Allen testified in the LTL 2 bankruptcy proceedings pending before this Court, that in a
  number of the cases in which his firm acts as co-counsel with Allen Smith, the case has benefitted
  from litigation financing from the private equity firm Fortress Investment Group (“Fortress”). (See
  Exhibit F, April 17, 2023 Deposition of Andy Birchfield at 44:22-45:6; 155:3-14.3

         Four inevitable and obvious questions necessarily follow: (1) Why has Beasley Allen
  concealed its financing? (2) Is the magnitude of that financing, and the interest rate on that
  financing, influencing (directly or through its co-counsel) derailing Beasley Allen from fulfilling
  its ongoing ethical obligations in this MDL, including its willingness to resolve the talc litigation
  on reasonable terms, consistent with its clients’ interests? (3) To what extent, under the terms of
  Fortress’s financing arrangement, is Fortress—or any other entity to whom Fortress transferred,
  syndicated or factored its financing—dictating which settlements should be accepted or promoted
  by Beasley Allen? And (4) What other undisclosed financing is Beasley Allen receiving that
  implicates these same issues?


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    Defendants respectfully suggest that it may be appropriate for the Court to remind the counsel
  involved in this matter of their obligations under Rule 7.1.1, and order immediate compliance
  with the Rule within the next 10 days.
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        As wisely raised by New Jersey’s Rule 7.1.1, a critical question in the litigation funding
  space is whether and to what extent the funder’s approval is necessary for litigation decisions
  and/or effectively controlling strategy or settlement. These questions require answers.

                         REUTERS COMPLICITY IN THESE MATTERS

         In addition to the myriad ethical concerns and possible rule violations raised by Beasley
  Allen’s communications, each of which independently justifies the expedited discovery sought by
  Defendants’ subpoena, the Court should order expedited compliance with the subpoena to fully
  and finally unmask whether and to what extent Beasley Allen has surreptitiously coordinated and
  communicated with Reuters concerning the talc litigation. And for present purposes, whether
  Beasley Allen already is or has express designs to use Reuters to disseminate a misinformation
  campaign related to the Plan.

          Unfortunately, Reuters’ odd, if not suspicious, inclusion in the Claimant’s communications
  implicates a recurring issue with Reuters’ role in fomenting talc litigation on behalf of the
  plaintiffs’ bar. The talc litigation first gained momentum following Reuters’ publication in 2018
  of a purported exposé—which it termed “a Reuters Investigation”—wherein it incorrectly claimed
  to have discovered that J&J knew its talc products contained asbestos. J&J’s stock dropped 10%
  the day that article was released, and in turn, the article became the foundation for a securities class
  action. What discovery in that class action revealed, however, is that Reuters did not conduct an
  “investigation,” but rather had been fed a one-sided narrative by the plaintiffs’ bar. Specifically,
  a declaration submitted by a particular plaintiffs’ lawyer in that case attested that he gave Reuters
  the documents it cited in the article and that the drop in J&J’s stock price furthered his firm’s
  interest in the talc litigation. (See Exhibit G, Lanier declaration). Sadly, Reuters acted as the
  mouthpiece of the plaintiffs’ bar then and has continued to do so since.

          Most problematic, Reuters has continued to do the bidding of plaintiff lawyers, including
  Beasley Allen, by publishing articles disparaging J&J’s litigation positions in advance of key
  events in the talc litigation. By way of example, in advance of the February 2022 hearing on
  plaintiffs’ motion to dismiss LTL 1, plaintiffs’ lawyers funneled selective documentation to
  Reuters, which in turn Reuters cited in its article reiterating the plaintiffs’ lawyers’ position at the
  hearing. (See Exhibit H, Article). The deliberate nature of Reuters’ collaboration was revealed at
  close of LTL 2, when plaintiffs’ lawyers inadvertently disclosed the identity of the high-priced
  public-relations firm they had been using to coordinate their manipulation of public perception
  surrounding talc litigation generally and the bankruptcy proceedings more specifically. That PR
  firm, in turn, not only conceded but bragged about the scheme – including its work with Reuters –
  in public facing material. (See Exhibit I, TASC website).

          Reuters is not entitled to the First Amendment protection afforded to the “Fourth Branch”
  when it is not acting as an unbiased news agency, but instead as an advocate and mouthpiece of
  firms like Beasley Allen. Immediate discovery into any communications between Beasley Allen
  and Reuters regarding the Plan, and in particular any effort to use Reuters to advance a
  misinformation campaign regarding the Plan, is needed and warranted on an expedited basis. The
  Plan’s voting window is short. If claimants have any chance of truly considering the Plan and
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  voting their own interests before the deadline, Defendants’ efforts to shine a light on and halt
  Beasley Allen’s efforts to bias the voting process must come to fruition in the immediate term.

                                            CONCLUSION

           Beasley Allen’s economic motivation to derail the Plan is well established. As Mr.
  Birchfield has conceded under oath, Beasley Allen stands to profit materially if the Plan is thwarted
  and it coerces a resolution outside of bankruptcy. (See Exhibit F, April 17, 2023 Deposition of
  Andy Birchfield at 18:8-20:8; 20:24-21:11; 25:6-24). Indeed, the very day the Plan was
  announced, Mr. Birchfield issued a press release denouncing the Plan, without even allowing the
  Claimant, the firm’s broader clients, or claimants represented by other firms the opportunity to
  first read its terms. (See Exhibit E, May 1, 2024 Beasley Allen Press Release).

          This crazed commitment to derailing, time and again, a comprehensive resolution of the
  talc docket runs headlong into Beasley Allen’s ethical obligations to the Claimant, to its clients, to
  the broader claimants in this MDL, to this Court and to the Bankruptcy Court. It should not be
  countenanced or allowed to continue under cover of darkness and masked by false claims of
  privilege.

         For the foregoing reasons, Defendants request that this Court order the expedited
  production of documents responsive to the subpoena attached as Appendix A. Time is of the
  essence given the short, three-month solicitation period afforded by the Plan. (See Exhibit J, Plan
  Press Release.) The exigency is clear.

         Defendants are affording all talc ovarian cancer claimants the opportunity to vote and
  decide for themselves whether the Plan is in their best interests – an objective that Beasley Allen,
  as an officer of the Court and an ethics-bound representative of injured women, should embrace
  and encourage. Any effort by Beasley Allen to derail and bias the vote should be addressed
  immediately.

                                                        Respectfully submitted,




                                                        Allison M. Brown

  cc: All Counsel (via ECF)
